           Case 2:13-cv-01492-KOB Document 6 Filed 08/22/13 Page 1 of 1                                 FILED
                                                                                               2013 Aug-22 PM 03:18
                                                                                               U.S. DISTRICT COURT
                                                                                                   N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

CYNTHIA ALLUMS.                                   ]
                                                  ]
         Plaintiff,                               ]
                                                  ]
v.                                                ]        2:13-cv-1492-KOB
                                                  ]
AMSHER COLLECTION SERVICES,                       ]
INC.,                                             ]
                                                  ]
         Defendant.                               ]


                                    ORDER OF DISMISSAL

         The court, having received "Plaintiff's Notice of Dismissal of Complaint" (doc. 5),

DISMISSES this case WITHOUT PREJUDICE, costs taxed as paid pursuant to Fed. R. Civ. P.

41(a).

         DONE and ORDERED this 22nd day of August, 2013.




                                                      ____________________________________
                                                      KARON OWEN BOWDRE
                                                      UNITED STATES DISTRICT JUDGE




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